                  Irene Documents
Case 1:10-cv-00210-PLF Document 78 Filed 11/15/10 Page 1 of 12
                  Part Three
                  Pgs. 24 - 35
Case 1:10-cv-00210-PLF Document 78 Filed 11/15/10 Page 2 of 12
Case 1:10-cv-00210-PLF Document 78 Filed 11/15/10 Page 3 of 12
Case 1:10-cv-00210-PLF Document 78 Filed 11/15/10 Page 4 of 12
Case 1:10-cv-00210-PLF Document 78 Filed 11/15/10 Page 5 of 12
Case 1:10-cv-00210-PLF Document 78 Filed 11/15/10 Page 6 of 12
Case 1:10-cv-00210-PLF Document 78 Filed 11/15/10 Page 7 of 12
Case 1:10-cv-00210-PLF Document 78 Filed 11/15/10 Page 8 of 12
Case 1:10-cv-00210-PLF Document 78 Filed 11/15/10 Page 9 of 12
Case 1:10-cv-00210-PLF Document 78 Filed 11/15/10 Page 10 of 12
Case 1:10-cv-00210-PLF Document 78 Filed 11/15/10 Page 11 of 12
Case 1:10-cv-00210-PLF Document 78 Filed 11/15/10 Page 12 of 12
